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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

JOHNNY EDWARDS (#510282)                                                     CIVIL ACTION

VERSUS
                                                                             21-59-JWD-SDJ
RANDY LAVESPERE, ET AL.

                                              OPINION


        The Court has independently reviewed the entire record in this case and adopts the

Magistrate Judge's Report dated October 20, 2021 (Doc. 25), to which an objection was filed (Doc.

27). The Court notes that the summary judgment record establishes that Plaintiff failed to exhaust

his administrative remedies prior to filing suit, which allows the Court to grant a motion for

summary judgment with respect to any non-moving defendants sua sponte after giving Plaintiff

notice and a reasonable time to respond. Accordingly,

        IT IS ORDERED that the Motion for Summary Judgment (Doc. 15) is granted, dismissing

all of Plaintiff’s claims against all defendants.

        IT IS FURTHER ORDERED that the Court declines the exercise of supplemental

jurisdiction in connection with any potential state law claims, and that this action is dismissed

without prejudice.

        Judgment shall be entered accordingly.

        Signed in Baton Rouge, Louisiana, on November 4, 2021.




                                                         S
                                                    JUDGE JOHN W. deGRAVELLES
                                                    UNITED STATES DISTRICT COURT
                                                    MIDDLE DISTRICT OF LOUISIANA
